                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION
                               DOCKET NO. 3:99-cr-00058-FDW
 UNITED STATES OF AMERICA,                              )
                                                        )
 vs.                                                    )
                                                        )
 TERRENCE CUNNINGHAM,                                   )                          ORDER
                                                        )
             Defendant.                                 )
                                                        )

         THIS MATTER is before the Court on Defendant’s pro se Motion for Compassionate

Release (Doc. No. 60).

         Defendant has previously filed two pro se Motions to Reduce Sentence, see (Docs. Nos.

56, 58), and the Court ordered the Government to respond, allowing a thirty-day period to do so.

(Doc. No. 59).

         The Government is hereby ORDERED to respond to Defendant’s Motion for

Compassionate Release (Doc. No. 60). The Government shall have an additional thirty (30)

days to respond, thereby making the Response due by June 22, 2020.1 The Government is

instructed to file a single Response addressing Defendant’s three motions pending before the

Court.
         IT IS SO ORDERED.
                                           Signed: May 8, 2020




         1
          The Court notes that the additional time period would expire on June 21, 2020, which falls on a Sunday.
As required by Rule 45 of the Federal Rules of Criminal Procedure, the Response shall be due by the end of the next
business day. See Fed. R. Crim. P. 45(a)(1)(C).
                                                        1



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